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 4                          IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                                        FOR KLAMATH COUNTY

 6   LAURIE LOCICERO-FARY,                                   Case No.

 7                        Plaintiff,                         COMPLAINT

 8        vs.                                                (Personal Injuries—Premises Liability)
                                                             (Claim Over $50,000.00)
 9   WALMART INC.,                                           (Not Subject to Mandatory Arbitration)
                                                             (Fee Authority 21.160(1)(c))
10                        Defendant.
                                                             (Prayer Amount – $300,000.00)
11

12   Plaintiff alleges:

13                                                      1.

14           On or about May 1, 2019, Plaintiff entered into the Wal-Mart store 1772 (herein “said

15   Premises”) as an invitee for the purpose of shopping. That portion of said premises onto which

16   Plaintiff entered was owned, maintained and controlled by Defendant, WALMART INC., and was a

17   common area, which was intended for the use of its patrons.

18                                                      2.

19           As Plaintiff was shopping one of Defendant’s employees pushed a pallet jack full of boxes too

20   fast causing a collision with Plaintiff and her cart. As a result Plaintiff was injured as described more

21   fully below.

22                                                      3.

23           At said time and place Defendant had a duty to inspect for and warn Plaintiff of latent dangers

24   that were known to the owner, and also dangers that, in the exercise of reasonable care, would have

     COMPLAINT - 1                                                    THE IDIART LAW GROUP, LLC
                                                                1005 N. Riverside, Suite 100 Medford, OR 97501
                                                                  Tel: (541) 772-6969   Fax: (541) 245-0486



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 1   been known to Defendant, and to take reasonable action to protect from foreseeable and unreasonable

 2   risk of harm.

 3                                                      4.

 4           Defendant breached that duty and was negligent in one or more of the following particulars:

 5           a)      Defendant failed to keep a proper lookout for customers;

 6           b)      Defendant stacked its boxes in such a way to block the vision of the pallet jack user;

 7           c)      Defendant used the pallet jack improperly;

 8           d)      Defendant failed to warn or protect Plaintiff from the danger by placing appropriate

 9                   signage about the hazard of employees using pallet jacks; and

10           e)      Defendant failed to properly train and educate its employees on proper use of pallet

11                   jacks.

12                                                      5.

13           Defendant’s negligence in one or more of the foregoing particulars was a substantial factor in

14   causing Plaintiff to injure herself.

15                                                      6.

16           As a result Plaintiff was caused to suffer serious and painful injuries to her head, neck,

17   abdomen, back and knees, and difficulty performing normal life activities.

18                                                      7.

19           The injuries described above are likely to have permanent residual effects. As a result of

20   these injuries Plaintiff has experienced and continues to experience pain and suffering and the

21   limitations of normal and usual activities. Plaintiff should be fully and fairly compensated for these

22   non-economic damages in a sum that is just. An appropriate ceiling for these non-economic damages

23   is $250,000.00. Plaintiff’s injuries are continuing and Plaintiff may seek leave of the Court to amend

24   this amount prior to trial.
     COMPLAINT - 2                                                     THE IDIART LAW GROUP, LLC
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 1                                                         8.

 2          As a further result of the injuries received, Plaintiff has or will incur medical expenses in an

 3   amount not expected to exceed $50,000.00. Plaintiff’s injuries are continuing and Plaintiff may seek

 4   leave of Court to amend this amount prior to trial.

 5          WHEREFORE, Plaintiff prays for judgment against Defendant, for damages as follows:

 6          1.       A sum which will fully compensate Plaintiff for pain and suffering, for interference

 7                   with normal and usual activities, from the date of injury to the present, and from the

 8                   present into the future in a sum not expected to exceed $250,000.00;

 9          2.       A sum which will fully and fairly compensate Plaintiff for medical expenses not

10                   expected to exceed $50,000.00;

11          3.       Plaintiff’s costs and disbursements incurred herein; and

12          4.       For such other and further relief as the Court may deem just and equitable.

13          EXECUTED April 30, 2021

14
                                                 IDIART LAW GROUP, LLC.
15

16                                               By: s/ Damian M. Idiart__________________________
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